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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


ROSE THOMAS                                         §      Docket No. 2:23-cv-06391
                                                    §
                                                    §
Versus                                              §      Judge: SUSIE MORGAN
                                                    §
                                                    §
ALLIED TRUST                                        §      Magistrate Judge: JANIS VAN
INSURNACE COMPANY                                   §      MEERVELD

______________________________________________________________________________

                    JOINT MOTION TO DISMISS WITHOUT PREJUDICE


          NOW INTO COURT, comes both Plaintiff and Defendant, through undersigned counsel,

and respectfully request this Honorable Court to grant its Joint Motion to Dismiss Without

Prejudice for the reasons set forth below.

          1. Plaintiff, ROSE THOMAS, initially signed a contract of representation with McKinney,

Mosley and Associates (hereinafter "MMA");

          2. As this Court is well aware, MMA was subsequently removed from representation in all

cases involving Hurricane Ida;

          3. The file was referred to the Galindo Law Firm for further handling and Galindo Law

firm attempted to contact, without success, Plaintiff;

          4. On August 27, 2023, in an abundance of caution and in order to preserve Plaintiff's

rights, Galindo Law Firm filed a complaint to avoid any issue of liberative prescription in the

matter;

          5. Subsequently, Plaintiff informed Plaintiff’s counsel that they did not wish to pursue this

claim;
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       Accordingly, upon due consideration of the facts and law, Plaintiff and Defendant wish to

file Dismissal without Prejudice as agreed upon.

       WHEREFORE, undersigned counsel respectfully requests this Honorable Court GRANT

this Joint Motion and enter an order dismissing the above-referenced claim without prejudice.



                                     Respectfully Submitted,




 _/s/ Jeanne Arceneaux_________                        /s/ Mark Ladd
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